Case 2:04-cr-20140-.]PI\/| Document 193 Filed 07/06/05 Page 1 of 2 Page|D 260

IN THE UNITED sTATEs DISTRICT CoURT "'£° °"-~ -----'*“
FoR THE wEsTERN DISTRICT oF TENNESSEE ` _
WESTERN DIVISION 05 JUL °6 |H ||- Zh

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UNITED sTATEs oF AMERICA, CLEWD%FS WWCTUBT

TN. MEM’I'IS
Plaintiff,

VS. No. 04-20140
MICHAEL DINKINS,

Defendant.

ORDER GRANTING DEFENDANT’S MOTION TO CONTINUE SENTENCING

This cause came on upon the motion of the Defendant to continue the sentencing hearing

set on July 7, 2005 at 9:00 a.m. For good cause shown, the Cou.rt hereby grants the Defendant’s

motion The sentencing is hereby reset for the Zq%'day of SM mb€/V , 2005 at
91§§ 5‘ @/p.m.

IT ls so 0RDERED this §Q day ofJuly, 2005.

@M&Q..\

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

This document entered on the docket sheet |n compliance

with Ru:e 55 and/or 32(b) FHCrP on 2~ Q ’Q 5 /£5

   

UNITED `sATEs DISTRICT COURT - WTER D's'TRCT OFTENNESSEE

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Honorable J on McCalla
US DISTRICT COURT

